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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA ,
            Plaintiff,
                                                      No. 1:07-cr-213
-v-
                                                      HONORABLE PAUL L. MALONEY
REGINALD BLAND ,
            Defendant.


        ORDER GRANTING JOINT 2255 MOTION AND ORDER FOR RESENTENCING

         Defendant Bland, through counsel, jointly with the Government, filed this motion (Dkt. No.

292) to vacate, set aside or correct Defendant’s sentence under 28 U.S.C. § 2255. Since Defendant

was sentenced, his prior state felony conviction has been vacated. Vacatur of a prior state conviction

used to enhance a federal sentence is a sufficient reason to grant a 2255 motion. See Johnson v.

United States, 544 U.S. 295, 302-303 (2005). Therefore, the joint motion (Dkt. No. 292) is

GRANTED and Defendant Bland’s sentence is VACATED. A re-sentencing hearing has been

scheduled for November 16, 2009 at 11:00 a.m.. Counsel for the government shall prepare the

necessary paperwork to ensure the defendant’s presence at the hearing. The Probation Office is

ordered to prepare a modified pre-sentence investigation report, with respect to the facts presented

in the joint motion, to be used by this Court in sentencing.

         IT IS SO ORDERED.



Date:    September 24, 2009                                       /s/ Paul L. Maloney
                                                               Paul L. Maloney
                                                               Chief, United States District Judge
